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                      UNITED STATES DISTRICT COURT

                FOR THE EASTERN DISTRICT OF MICHIGAN


STEVEN WALKER,
                                                    Case No. 20-cv-11688
                   Plaintiff,                       Hon. Paul D. Borman
v.

RYAN TRANSPORTATION, INC., a
Michigan corporation,

                   Defendant.
_________________________________/
 ERIC STEMPIEN (P58703)                    MARY C. DIRKES (P42723)
 STEMPIEN LAW, PLLC                        STEPHEN P. DUNN (P68711)
 Attorneys for Plaintiff                   BRANDON J. WILSON (P73042)
 38701 Seven Mile Rd., Suite 130           HOWARD & HOWARD ATTORNEYS, PLLC
 Livonia, MI 48152                         Attorneys for Defendant
 (734)744-7002                             450 W. Fourth Street
 eric@stempien.com                         Royal Oak, MI 48067
                                           (248) 645-1483
                                           mdirkes@howardandhoward.com
                                           spd@h2law.com
                                           bjw@h2law.com
_________________________________/

PLAINTIFF/COUNTER-DEFENDANT’S ANSWER TO COUNTERCLAIM

      Plaintiff/Counter-Defendant Steven Walker, by and through his attorneys,

Stempien Law, PLLC, hereby answers Defendant/Counter-Plaintiff Ryan

Transportation, Inc.’s Counterclaim, and in support thereof states:
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  1. Plaintiff/Counter-Defendant neither admits nor denies the allegations

     contained    in   this   paragraph       of   the   Counterclaim    but   leaves

     Defendant/Counter-Plaintiff to its proofs.

  2. Admit.

  3. Plaintiff/Counter-Defendant admits that this Court has the authority to assert

     supplemental jurisdiction over Defendant/Counter-Plaintiff’s Counterclaim.

  4. Admit.

  5. Admit.

  6. Plaintiff/Counter-Defendant neither admits nor denies the allegations

     contained    in   this   paragraph       of   the   Counterclaim    but   leaves

     Defendant/Counter-Plaintiff to its proofs.

  7. Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  8. Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  9. Plaintiff/Counter-Defendant neither admits nor denies the allegations

     contained    in   this   paragraph       of   the   Counterclaim    but   leaves

     Defendant/Counter-Plaintiff to its proofs.

  10.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.


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  11.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  12.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  13.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  14.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  15.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

           COUNT I – FRAUDULENT MISREPRESENTATION

  16.Plaintiff/Counter-Defendant hereby incorporates by reference all previous

     paragraphs of this Answer as if fully set forth herein.

  17.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  18.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  19.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.




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  20.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  21.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  22.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  23.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  24.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  25.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

  26.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.

                   COUNT II – UNJUST ENRICHMENT

  27.Plaintiff/Counter-Defendant hereby incorporates by reference all previous

     paragraphs of this Complaint as if fully set forth herein.

  28.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

     Counterclaim because they are untrue.




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   29.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

      Counterclaim because they are untrue.

   30.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

      Counterclaim because they are untrue.

   31.Plaintiff/Counter-Defendant denies the allegations in this paragraph of the

      Counterclaim because they are untrue.

   WHEREFORE,        Plaintiff/Counter-Defendant    Steven     Walker    respectfully

requests that this Honorable Court enter a judgment of no cause of action as to

Defendant/Counter-Plaintiff’s Counterclaim and/or enter an order of dismissal as to

Defendant/Counter-Plaintiff’s Counterclaim, dismissing the Counterclaim in its

entirety with prejudice, and award Plaintiff/Counter-Defendant actual costs and

attorney fees for having to defend this frivolous Counterclaim.

                                              STEMPIEN LAW, PLLC

                                              /s/ Eric Stempien
                                              By: Eric Stempien (P58703)
                                              Attorney for Plaintiff
Dated: September 1, 2020




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                       UNITED STATES DISTRICT COURT

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                                             mdirkes@howardandhoward.com
                                             spd@h2law.com
                                             bjw@h2law.com
_________________________________/

                           CERTIFICATE OF SERVICE

      I hereby certify that on September 1, 2020, I did serve the foregoing pleading
with the Clerk of the Court using the ECF system which will send notification of
such filing to all attorneys of record registered for electronic filing.
                                         /s/ Shawn L. Barrows
                                         Shawn L. Barrows, Legal Assistant
                                         38701 Seven Mile Road, Suite 130
                                         Livonia, MI 48152
                                         (734) 744-7002
Dated: September 1, 2020                 shawn@stempien.com
